983 F.2d 1075
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Mittelia CONTRERAS, Petitionerv.UNITED STATES IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 91-70045.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 4, 1993.*Decided Jan. 15, 1993.
    
      Before CANBY, BOOCHEVER and WILLIAM A. NORRIS, Circuit Judges.
    
    ORDER
    
      1
      This case was ordered submitted on the briefs and record, the government's motion to remand, and any opposition to that motion.   No opposition has been filed.
    
    
      2
      Having reviewed the record, we deny the petition for review of that portion of the BIA's decision holding that petitioner had failed to show such a severe past persecution that asylum is merited even in the absence of a well-founded fear of future persecutions.   See Matter of Chen, Interim Decision 3104 (BIA 1989).
    
    
      3
      In all other respects, the petition for review is granted, the decision of the BIA is vacated, and the case is remanded on the government's motion, for reconsideration in light of  Castillo-Villagras v. INS, 972 F.2d 1017 (9th Cir.1992).
    
    
      4
      PETITION FOR REVIEW GRANTED IN PART AND DENIED IN PART;  REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App. 34(a) and Ninth Cir.  Rule 34-4
      
    
    